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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
FRANCHISE GROUP, INC. et al., Case No. 24-12480 (JTD)
Debtors. (Jointly Administered)
CERTIFICATE OF SERVICE

I, Jesse Blevins, depose and say that I am employed by Reliable Companies who provided
noticing services in the above-captioned case.

On May 14", 2025, at my direction and under my supervision, employees of Reliable Companies
caused to be served the following documents by the method indicated on the service list attached
hereto as Exhibit A:

Joinder (Ad Hoc Group of First Lien Lenders' Joinder to Debtors'
Memorandum of Law (I) in Support of an Order (A) Confirming the Ninth
Amended Joint Chapter 11 Plan of Franchise Group, Inc. and its Debtor
Affiliates and (B) Approving the Global Settlement and Release of Claims
and Causes of Action By and Among the Global Settlement Parties, and (II)
Omnibus Reply to Objections Thereto) (related document(s)1430, 1457)
Filed by Ad Hoc Group of First Lien Lenders. (McGuire, Matthew)
(Entered: 05/14/2025)

05/14/2025 1460

Dated: May 14", 2025

/s/ Jesse Blevins

Jesse Blevins

Reliable Companies

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EXHIBIT A
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